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   The Honorable Leo T. Sorokin
   United States District Court
   John Joseph Moakley Courthouse
   1 Courthouse Way
   Boston, MA 02210



   Dear Judge Sorokin:

    I am writing to you on behalf of my friend, Ross McLellan. Ross and I have been friends
since 2005 when my family moved to Hingham, Massachusetts. As is normally the case, we
became friends through our wives, Mary and Lisa. My oldest child, 13 year old            ,
and Ross’s oldest child,     , have been friends since before they could walk. Our families
have become very close since our arrival in Hingham and they remain our best friends in
town.

    There are numerous examples over the years of how Ross has been a great friend and a
person of exemplary character. I would like to cite a few. In 2014, my wife Mary was
stricken with brain cancer. This, as you can imagine, was an enormous shock to our family
(my wife and three children). During the initial diagnosis and surgery, followed by the
surgery to attempt to remove the tumor, and the subsequent months of radiation and
chemotherapy, we were in need of significant assistance and support. Lisa and Ross
spearheaded an effort to organize our meals, childcare, transportation and other crucial
necessities during this time. We got through this trying period because of their kindness, hard
work and generosity.

    Ross is very strong willed and has exhibited great perseverance. In 2016 Ross lost both of
his parents within a few months of each other. He buoyed his family with his strength and
took care of arranging services and making sure his mother was receiving proper care before
she eventually passed away. Ross has been involved in the community coaching hockey and
baseball. He is an active member of the board of Hingham Youth Hockey. He is well-liked
and is known throughout the town as a good coach and mentor to young people. My son has
spent countless hours at the McLellan's house playing sports, and in their swimming pool,
and having meals. He is a person that I can truly say has had great influence on my son both
in sports and in life. He has a great sense of humor and is the ring leader when it comes to
getting the kids together for games etc.

   Ross has been very successful in all facets of life. He was a strong athlete and student
growing up in Rhode Island. While he probably had his share of fun in college, it has been
pointed out to me that he was the only one of his friends who was tutoring other students. He
has had a very good career in financial services. He moved up the ladder quickly because of
his hard work and leadership. I have met a number of his work colleagues that miss him
tremendously. He also started his own successful business after leaving a major corporation
as a testament to his entrepreneurial aptitude and drive.
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    In closing, I find it incredibly easy to say good things about Ross. I have enormous
respect for how he has handled his legal situation. He has been there for his family. He has
made sure that his wife and kids are loved and cared for, and that they can carry on with day
to day school and extracurricular activities. He has been helpful in the community and has
been a great friend to many. I would be happy to elaborate on any aspects of my relationship
with Ross McLellan and want to mention that I have collaborated with my wife Mary in the
writing of this letter.



Sincerely,


William F. Farrington III
       Hingham, Massachusetts
